           Case 8:24-cv-01205-ABA                        Document 34   Filed 07/10/24   Page 1 of 1


                                  IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF MARYLAND


LESTER LEE
                                 Plaintiff                     *

                            v.                                 *         Civil No.: TJS 24-1205

BROOKSIDE PARK CONDOMINIUM,                                    *
INC., ET AL.
              Defendants
                                                             ******

                                                       ORDER OF DEFAULT

           It appearing from the records and/or affidavit of Monet Ballard that the summons and

Complaint were properly served upon Defendant Charles Lamont Savoy on June 10, 2024, that

the time for said Defendant to plead or otherwise defend expired on July 1, 2024, and that said

Defendant has failed to plead or otherwise defend as directed in said summons and as provided by

the Federal Rules of Civil Procedure.

           Therefore, upon the request of the Plaintiff, and pursuant to Rule 55 of the Federal Rules

of Civil Procedure, it is

           ORDERED, that default for want of answer or other defense by Defendant Charles

Lamont Savoy is entered this 10th day of July , 2024.

                                                                   CATHERINE M. STAVLAS, CLERK



                                                             By:          /s/
                                                                   Theresa D. Derro
                                                                   Deputy Clerk

cc:        Charles Lamont Savoy
           7906 Prentice Court
           Fort Washington, MD 20744


U.S. District Court (Rev. 1/2000) - Order of Default
